PG&E Corporation                                                                                        Case Number:          19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
     Part 3:       List Others to Be Notified About Unsecured Claims

4.     List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed
       are collection agencies, assignees of claims listed above, and attorneys for secured creditors.


 Creditor's Name, Mailing Address Including Zip Code                      On which line in Part 1 did you enter        Last 4 digits of account
                                                                                 the related creditor?                   number for this entity


4. 1    NONE




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PG&E Corporation                                                                                  Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
      Part 4:       Total Amounts of the Priority and Nonpriority Unsecured Claims


5.      Add the amounts of priority and nonpriority unsecured claims.


                                                                                                         Total of claim amounts


5a.     Total claims from Part 1                                                            5a.                              $0



5b.     Total claims from Part 2                                                            5b.     +              $700,309,269




5c.     Total of Parts 1 and 2                                                              5c.                    $700,309,269

        Lines 5a + 5b = 5c.




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